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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 17-20144-CR-ALTONAGA

  UNITED STATES OF AMERICA,

         Plaintiff,
  vs.

  EDISON WASHINGTON PRADO ALAVA,

         Defendant.
                                         ______ /

                                    ORDER OF FORFEITURE

         THIS CAUSE is before the Court upon the United States of America’s Motion for Order of

  Forfeiture, and Memorandum of Law in Support Thereof [ECF No. 30] for a forfeiture money

  judgment in the sum of $5 million in U.S. currency, pursuant to 21 U.S.C. §§ 853 and 970, and

  Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure. Based on the United States’ Motion

  for Order of Forfeiture, and Memorandum of Law in Support Thereof, the record in this matter,

  and for good cause shown thereby, the Court finds as follows:

         1.      On February 28, 2017, a federal grand jury indicted Defendant Edison

  Washington Prado Alava and others, charging Defendant with conspiracy to distribute more than

  five kilograms of cocaine, knowing they were to be unlawfully imported into the United States,

  in violation of 21 U.S.C. §§ 959(a)(2) and 963.          (See Indictment, [ECF No. 3]).        The

  Indictment also included forfeiture allegations, which alleged that upon conviction of the

  charged violation, the Defendant shall forfeit to the United States any property constituting, or

  derived from, any proceeds obtained, directly or indirectly, as a result of such violation, and any

  property used, or intended to be used, in any manner or part, to commit, or to facilitate the

  commission of, such violation.   (Id. at 2-3).

         2.      On or about July 23, 2018, pursuant to a written Plea Agreement, the Defendant
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  pleaded guilty to conspiracy to distribute more than five kilograms of cocaine, knowing that it

  was to be unlawfully imported into the United States, as charged in the Indictment.                  (See

  Minute Entry [ECF No. 24]; Plea Agreement ¶ 1, at 1 [ECF No. 25]).                As set forth in the

  Stipulated Factual Proffer, from at least as early as in or about December 2015 until at least

  February 2017, the Defendant and his co-conspirators shipped multiple hundred-kilogram loads

  of cocaine from Colombia and Ecuador to countries in Central America for importation into the

  United States.    (See Factual Proffer 1 [ECF No. 26]). The Defendant was responsible for the

  shipment or attempted shipment of at least 5,000 kilograms of cocaine, which had a street value

  in Central America of approximately $9,000 in U.S. currency per kilogram.          (See id. at 2).

          3.       In his Plea Agreement, the Defendant agreed to the following provisions related

  to forfeiture:

          13.     The defendant agrees to forfeit to the United States voluntarily and
          immediately all property constituting, or derived from proceeds obtained, directly
          or indirectly, as a result of the conspiracy to distribute more than five (5)
          kilograms of cocaine knowing that it was unlawfully imported into the United
          States, in violation of Title 21, United States Code, Section 963 and charged in
          Count 1 of the Indictment. The property subject to forfeiture includes, but is
          not limited to, the total amount of proceeds obtained, directly or indirectly,
          as a result of the charged conspiracy, which is at least $5 million in U.S.
          currency and which may be sought as a forfeiture money judgment against
          the defendant. The defendant agrees to consent to the entry of orders of
          forfeiture for such property. The defendant admits and agrees that the conduct
          described in the Indictment and Factual Proffer provides a sufficient factual and
          statutory basis for the forfeiture of the property sought by the Government.

          14.     The defendant agrees to fully cooperate with the Government in all
          proceedings, whether administrative or judicial, involving the forfeiture to the
          United States of all rights, title, and interest, regardless of their nature or form, in
          all assets, including real and personal property, cash and other monetary
          instruments, wherever located, which the defendant or others to the defendant’s
          knowledge have accumulated as a result of illegal activities. The defendant’s
          assistance shall include: identification of any property subject to forfeiture,
          agreement to the entry of an order enjoining the transfer or encumbrance of such
          property, and the transfer of such property to the United States by delivery to this
          Office, upon this Office’s request, any necessary and appropriate documentation,
          including consents to forfeiture and quit claim deeds, to deliver good and
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         marketable title to such property. The defendant agrees that the United States
         shall, at its discretion, be entitled to forfeiture of any property (substitute assets)
         of the defendant to satisfy the forfeiture money judgment. The defendant agrees
         that all elements of Title 21, United States Code, Section 853(p) have been
         satisfied. The defendant further agrees to take all steps necessary to locate
         property that could be used to satisfy the forfeiture money judgment and to pass
         title to at least $3 million in U.S. currency to the United States at least one week
         before the defendant’s sentencing. The defendant agrees to liquidate assets, or
         complete any other tasks, which will result in immediate payment of the forfeiture
         money judgment in full, or full payment in the shortest amount of time, as
         requested by the Government. The defendant agrees that he will not sell, hide,
         waste, encumber, destroy, or otherwise devalue any asset without prior approval
         of the Government, until his forfeiture money judgment is paid in full.

         15. The defendant knowingly and voluntarily waives all constitutional, legal and
         equitable defenses to the forfeiture of the assets in any judicial or administrative
         proceeding, including any claim or defense under the Eighth Amendment to the
         United States Constitution; waives any applicable time limits to the initiation of
         administrative or judicial proceedings, and waives any right to appeal the
         forfeiture. The defendant further agrees that forfeiture is independent of any
         assessments, fines, costs, restitution orders, or any other penalty that may be
         imposed by the Court.

  (Plea Agreement ¶¶ 13-15 (bold emphasis added)).

         4.      Based on the Defendant’s guilty plea, Plea Agreement, and Stipulated Factual

  Proffer, and pursuant to 21 U.S.C. §§ 853 and 970, at least $5 million in U.S. currency is the

  total amount of proceeds obtained, directly or indirectly, as a result of his conspiracy in violation

  of 21 U.S.C. §§ 959(a)(2) and 963, as charged in the Indictment.                 Pursuant to Rule

  32.2(b)(2)(A) of the Federal Rules of Criminal Procedure, this sum may be sought as a forfeiture

  money judgment.     (See Fed. R. Crim. P. 32.2(b)(2)(A)).

         THEREFORE, the United States’ Motion for Order of Forfeiture [ECF No. 30] is

  GRANTED, and it is hereby ORDERED that:

         1.      A forfeiture money judgment in the amount of $5 million in U.S. currency is

  hereby entered against Defendant Edison Washington Prado Alava;

         2.      Pursuant to Rule 32.2(c)(1) of the Federal Rules of Criminal Procedure, no

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  ancillary proceeding is required as the requested forfeiture consists of only a money judgment;

         3.      Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this Order

  is final as to Defendant Edison Washington Prado Alava and shall be made part of the sentence of

  the Court and is hereby incorporated in the judgment and commitment order issued in this case;

         4.      The United States is authorized, pursuant to Rule 32.2(b)(3) of the Federal Rules of

  Criminal Procedure and 21 U.S.C. § 853(m), to conduct any discovery necessary, including

  depositions, to identify, locate or dispose of forfeitable property; and

         5.      The Court retains jurisdiction in this matter for the purpose of enforcing this Order.

         DONE AND ORDERED in Miami, Florida, this 10th day of August, 2018.




                                                        _________________________________
                                                        CECILIA M. ALTONAGA
                                                        UNITED STATES DISTRICT JUDGE




  cc:    counsel of record
         Nalina Sombuntham, Assistant U.S. Attorney (2 certified copies)




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